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                        EXHIBIT B
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                                                  Deep expertise combined
                                                  with unparalleled access.
                                                  Market-leading pricing,
                                                  plus turnaround times
                                                  that redefine industry


A FRESH TAKE
                                                  benchmarks. Innovative
                                                  solutions that challenge


ON STRUCTURED
                                                  convention. Impressive
                                                  credentials, plus best-in-


SETTLEMENTS
                                                  class partners to back it
                                                  all up.


                                                  COMPANY OVERVIEW 2024
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WHAT SETS INDEPENDENT LIFE APART?

As the insurance company dedicated to structured settlements, our singular purpose is to
ensure a better future for both the injured party and the industry. We built Independent Life
from the ground up to improve on what works and to reinvent what doesn’t.



          INNOVATIVE SETTLEMENT                                         MARKET-LEADING
          SOLUTIONS                                                     PRICING PRACTICES

          that fill gaps and create new                                 based on a pioneering medical
          market opportunities                                          underwriting approach


          HIGH-TOUCH                                                    A COMPELLING
          SERVICE                                                       COMPANY PROFILE

          combined with cutting-edge                                    that has attracted an
          technology that sets new standards                            impressive roster of partners




OUR TEAM

Driven by a team of insurance industry experts across structured settlements, underwriting, actuarial, legal,
asset management, distribution and operations, we’re challenging convention and creating a better way to
design and deliver innovative solutions for injured people, their families and settlement professionals alike.
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A COMPELLING COMPANY PROFILE

Independent Life’s dedication and momentum have attracted an impressive roster of partners. Aligned with our
vision for the structured settlement industry, these partners have accelerated the growth of our balance sheet
and strengthen the guarantees we make.

   • Capital: LKCM Headwater and KKR’s Kilter Finance
   • Reinsurance: Hannover Re U.S. (A.M. Best A+ rated)
   • Investment Management: BlackRock
   • iStructure Index Management: Franklin Templeton and Bank of America


Independent Life earns high marks from rating agencies designated and approved by the Securities
and Exchange Commission:




                      AIFSR
                                          Independent Life
                                        Insurance Company
                                                                  IFSR
                  As of December 2023                        As of December 2023




The rating agencies cite Independent Life’s high credit quality investment portfolio, the diversified
experience of the company’s management team and demonstrated acceptance by key industry players.

With risk-based capital (RBC) ratios in line with structured settlement peers and without legacy liabilities or
distractions from other product lines, Independent Life’s growth has been smart and consistent.

The Company continues to experience tremendous growth with total assets increasing by more than 41%
in 2023, as more individuals experience enhanced benefits and superior customer service by selecting
Independent Life as their annuity provider.




MORE NUMBERS THAT MATTER




 $1.08B                                    475+                          $385K                            29.8%
   in Settlement                         Companies have              Average Case Size                One of the top capital &
  Funds Received                          funded with us              (far exceeds the              surplus/general account net
                                                                    industry average of               assets ratio in industry
                                                                       $177k in 2023)
*As of March 31, 2024
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A LOOK AT INDEPENDENT LIFE’S
FINANCIAL STRENGTH

                                                                                               Capital & Surplus/
COMPANY                                                                                        General Account Net Assets^

Berkshire Hathaway Life Insurance Company of Nebraska				                                                   43.55%
Independent Life									29.80%
New York Life Insurance Company							11.53%
USAA Life Insurance Company								9.77%
Prudential Insurance Company of America*						9.57%
Pacific Life Insurance Company								9.23%
Metropolitan Tower Life Insurance Company						7.78%
United of Omaha Life Insurance Company						                                                                7.09%
American General Life Insurance Company						5.55%

2023 Statutory Statement Filings

*Reflecting 2022 numbers. Data not available at time of publication.

^Excludes assets held on behalf of the reinsurer

The ratio of capital and surplus to general account net assets essentially represents the extra funds available after an
insurance company meets its liabilities. Independent Life has nearly 30 cents of every $1 in assets available to address
the risks and uncertainties related to its business.
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        CHOOSE
        INDEPENDENT LIFE




     Deep expertise                                  Market-leading                                 Innovative                                        Impressive
     combined with                                   underwriting                                   solutions that                                    credentials plus
     unparalleled                                    and pricing,                                   challenge                                         best-in-class
     access.                                         plus turnaround                                convention.                                       partners to back
                                                     times that                                                                                       it all up.
                                                     redefine industry
                                                     benchmarks.



                                                                                                                                                                 VE R S I O N 1 , 2 0 24




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